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                                                                    DLA Piper LLP (US)
                                                                    4365 Executive Drive
                                                                    Suite 1100
                                                                    San Diego, California 92121-2133
                                                                    www.dlapiper.com

                                                                    Brooke K. Kim
                                                                    brooke.kim@us.dlapiper.com
                                                                    T 619.699.3439
                                                                    F 619.764.6739



January 6, 2025
FILED VIA ECF

Hon. Jacqueline Scott Corley
450 Golden Gate Avenue
19th Floor, Courtroom 8
San Francisco, CA 94102

Re:     In re: Baby Food Products Liability Litigation (MDL 3101)
        Joint Letter Brief Regarding Short Form Plaintiff Fact Sheet

Dear Judge Corley:

Pursuant to Pretrial Order No. 10 (“PTO 10”), the parties exchanged proposed short form
Plaintiff Fact Sheets (“PFS”) on December 20, 2024. The parties were unable to resolve all
disputes related to a proposed PFS through the meet-and-confer process.1 Accordingly, the
parties hereby submit their respective proposals to the Court.

As described in more detail below, Plaintiffs’ proposal involves the completion of three short
documents: (1) a short PFS to be completed by the Plaintiff’s parent or guardian; (2) a short
Preservation Disclosure Form to be completed by the Plaintiff’s Counsel; and (3) a Defendant
Fact Sheet. Pursuant to PTO 10, Defendants’ proposal only involves a PFS.

Plaintiffs’ proposed PFS is attached hereto as Exhibit A. Plaintiffs further submit a proposed
Plaintiff’s Preservation Disclosure Form as Exhibit B, and a proposed short form Defendant Fact
Sheet as Exhibit C. Defendants’ proposed PFS is attached hereto as Exhibit D. To assist the
Court in identifying the differences between Plaintiffs’ proposed “Preservation Disclosure Form”
and Defendants’ proposed PFS, attached hereto as Exhibit E is a redline of Plaintiffs’
Preservation Disclosure Form as the original, with Defendants’ proposed PFS as the revised
version.

In support of their respective proposals, the parties raise in this letter brief five primary areas of
disagreement between the parties’ respective proposals.




1
 Defendants raising jurisdictional challenges did not participate in the meet and confer process
and are not included in the term “Defendants” in this letter brief.
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    1. The Structure of the Parties’ Respective Proposals
Plaintiffs’ Position: The issue regarding an initial fact sheet emerged following concerns by
Defendants that third-party discovery was not being preserved. It has since grown to include
plaintiff-specific discovery related to product identification. Accordingly, Plaintiffs propose three
forms aimed at accomplishing both objectives, i.e., third-party preservation and product
identification discovery.
Regarding third-party preservation, Plaintiffs propose a Preservation Disclosure Form (“PDF”),
which provides a framework for identifying third parties that may have discoverable information.
See Exhibit B. From the PDF, Defendants will be able to take whatever actions they believe are
necessary to preserve discoverable information. Because this document is not in lieu of formal
discovery, but is meant to facilitate third-party preservation, it is a document prepared by and
submitted by counsel. Indeed, preservation letters and informal preservation disclosures are always
prepared and signed by counsel.
Regarding product identification discovery, Plaintiffs propose facts sheets for both Plaintiffs and
Defendants. The Plaintiff’s initial fact sheet (“PIFS”), see Exhibit A, which is signed by the
plaintiff or a guardian (if plaintiff is a minor), facilitates formal discovery related to those products
consumed by the Plaintiff, to the best of the Plaintiff’s knowledge. The Defendant’s initial fact
sheet (“DIFS”), see Exhibit C, similarly facilitates responsive product identification discovery as
it pertains to the products identified by Plaintiff in the PIFS. Neither of these forms are necessary
for general causation. However, with product identification discovery proceeding, a mutual
exchange of product identification discovery is fair.
Defendants’ Position: Plaintiff Fact Sheets are routinely signed by plaintiffs in MDLs, and
Plaintiffs raise no justification to deviate from this practice. At Plaintiffs’ request, Defendants
agreed that the PFS need not be signed under oath. But if Plaintiffs, via their parents or guardians,
are not attesting that they each performed a diligent search for the relevant information, reviewed
the responses, and believe the responses are accurate to the best of their knowledge, the
information Defendants receive will have little or no purpose or reliability.
Plaintiffs’ only stated objection to having their clients sign the PFS is a purported fear that their
disclosures will be used as a “gotcha.” 12/12/24 Hearing Tr. 49:8-51:1. The Court already rejected
this argument, finding that providing basic information to the best of one’s knowledge as it exists
at a particular point is not a “gotcha”—it’s the truth. Id. at 51:2-8 (“If your clients can’t remember,
they don’t remember—at one point now, this is what they remember…Then, after, being shown a
list, they remember some other things[.] That’s not a gotcha. That’s the truth.”).
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Notwithstanding this clear guidance, Plaintiffs propose a multi-tier PFS whereby only the (1) case
name; (2) Plaintiff’s address and parent(s)’ names; (3) alleged injury; and (4) Defendants’ baby
food products each Plaintiff alleges he or she at are disclosed in a signed PFS. All other information
is part of Plaintiffs’ proposed “Preservation Disclosure Form” signed only by counsel. Plaintiffs’
attempt to recast the PFS into a “Preservation Disclosure Form” not only ignores this Court’s clear
guidance, it also fails to comply with PTO 10, which unambiguously calls for a PFS. Dkt. 297 at
3. Thus, this Court should adopt a single short form PFS, in the form proposed by Defendants and
attached as Exhibit D, signed by each of Plaintiff’s parent(s)/guardian(s).
    2. Whether the Fact Sheet / Disclosure Should Be Limited to Defendants’ Baby Foods
Plaintiffs’ Position: Plaintiffs’ Preservation Disclosure Form (Exhibit B) would provide
Defendants with purchasing information for all commercial baby foods that Plaintiff contends
caused or contributed to his/her injury. Ex. B (Question #2). Plaintiffs have agreed to identify the
locations where Plaintiff’s parent/guardian purchased commercial baby food. Plaintiffs have
agreed to include with this list: (1) the store/website loyalty account number and phone number
associated with the account; (2) the payment methods used; and (3) where applicable, credit card
or debit card numbers used at the store. This gives Defendants the information necessary to make
efforts it deems necessary to preserve purchasing records at those retailers at this stage of the
litigation.
Yet, Defendants want more. They seek a list of every place Plaintiffs’ parents or guardians ever
purchased any food that may have been fed to Plaintiff, ever. Plaintiffs believe that at this stage of
the litigation, the proper focus is on commercial baby foods – the products at issue in this MDL.
Plaintiffs’ position – limiting food purchasing records to commercial baby food – focuses on the
products and purchases at issue, without unduly burdening Plaintiffs at this stage of the litigation
and implicating large swathes of irrelevant information about foods not at issue. Plaintiffs therefore
request that the Court restrict the question to focusing on retailers where commercial baby food
Plaintiff consumed was purchased at this stage of the MDL.
Plaintiffs also request inclusion of language with this question noting that “This information is
provided for preservation purposes only and is not meant to be an exclusive or exhaustive list.
Rather, it is provided to the best of current recollection.” Ex. B (Question #2). Yet Defendants
oppose including this language. There is no legitimate purpose of excluding this language, which
fairly captures the purpose of the PDF.
Defendants’ Position: Defendants’ PFS No. 6 requests information related to retailers at which
each Plaintiff’s caregivers purchased all foods that may have been fed to Plaintiff. Plaintiffs’
proposed limitation that Plaintiffs disclose information related only to Defendants’ baby foods the
Plaintiff ate is untenable.
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First, Plaintiffs’ core allegation is Defendants’ baby foods are defective and caused ASD/ADHD
because they contain “detectable” levels of heavy metals. It is undisputed that such heavy metals
are not exclusive to Defendants’ baby foods but rather are widely found in the fruits, vegetables,
and grains that baby foods contain. One cannot “shop one’s way around” the issue. This means
that any heavy metal exposure analysis must consider the totality of Plaintiffs’ food consumption—
not just Defendants’ baby food. Defendants therefore have a right to obtain evidence of what
families actually fed Plaintiffs, documented by purchase records. This is true not just because the
heavy metal exposure from other foods may be as great or greater than from Defendants’ baby
foods, but also because a diverse diet reduces even the theoretical import of any particular heavy
metal exposure from any particular dietary source.
Second, as a practical matter, it is unlikely that Plaintiffs’ parents can reliably identify and exclude
from their PFS retailers where they bought foods but not Defendants’ baby foods. Experience has
repeatedly shown that families buy baby foods along with other foods and often make baby food
purchases at stores they do not readily recall as the stores where they shopped for baby food.
Third, there is no undue burden from this request. To date, state court plaintiffs have each identified
a dozen or fewer stores at which they shopped for groceries, and similar numbers are expected
here. Credit card statements are generally available to assist Plaintiffs in identifying stores where
they purchased food. And, as this Court has repeatedly pointed out, a Plaintiff can only identify
the stores his or her caregivers remember shopping at based on a reasonably diligent investigation
of available records. Moreover, it is in everyone’s interest to avoid a situation where purchase
records are lost because Plaintiffs’ caregivers failed to identify relevant stores at this early stage.
For these same reasons, each Plaintiff should identify all commercial baby food products he or she
consumed, including baby food products made by non-Defendants. Ex. D, Defs.’ PFS No. 10.
    3. Whether the Fact Sheet / Disclosure Should Include an “Unsure” Option
Plaintiffs’ Position: Plaintiffs’ proposed Preservation Disclosure Form includes an optional
answer for certain questions that he/she is “Unsure” of the answer. As with all discovery questions,
sometimes the answer is unknown. Plaintiffs cannot be forced to answer yes or no to a question if
they are unsure of the answer. For example, Question 12 in Plaintiffs’ Preservation Disclosure
Form (Exhibit B) asks “Has Plaintiff, Plaintiff’s Parent, or biological sibling of Plaintiff undergone
genetic testing?” The possible responses to this question are “Yes,” “No,” and “Unsure.” It is
completely reasonable and understandable that someone may be unsure whether a family member
had undergone any genetic testing, at any time. As such, including an “Unsure” option recognizes
the reality that a yes/no answer is not always going to be possible.
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Defendants’ Position: In response to multiple questions regarding whether Plaintiff has access to
relevant records, in addition to “Yes” or “No,” Plaintiffs seek to add an “Unsure” option. See Ex.
B, Pls.’ Preservation Form Nos. 4-5, 9-12. An “Unsure” answer is unnecessary because the PFS
already includes a caveat that the answer was provided to the best of the person’s knowledge based
on a reasonably diligent investigation. If a parent responds “No,” the answer is a representation
that the individual performed a diligent search but was not able to locate any responsive records—
in other words, the answer communicates that a reasonable investigation occurred, not 100%
certainty of the record’s existence. By contrast, an “Unsure” response conveys no useful
information, and the option to select an “Unsure” answer in lieu of conducting a reasonably diligent
search to arrive at a “Yes” or “No” would severely undermine the utility of the PFS.
    4. Whether the Fact Sheet / Disclosure Should Include Information Related to
       Plaintiffs’ Access to Photos, Videos, and Genetic Testing
Plaintiffs’ Position: Defendants’ proposed Fact Sheet includes questions about the specific
method of storage of any photos or videos that Plaintiffs may have, as well as questions about
whether certain documents may be available to Plaintiffs “via an online portal.” Ex. D (Questions
12-14, 19(b)). As has previously been represented to the Court, Plaintiffs’ Counsel has instructed
our clients to preserve all evidence potentially relevant to their claims, including all evidence in
the form of electronically stored information. Yet, Defendants want more. They seek further
information on exactly how certain information is stored, i.e., they want discovery about discovery
before case-specific discovery even commences. This is too far—the information in the PDF is
sufficient to give Defendants the information they need concerning third-party preservation. There
is no basis for Defendants’ demand that Plaintiffs specify how exactly certain information is being
stored.
Defendants’ Position: In the state court proceedings, photos and videos of plaintiffs have proven
highly relevant to a variety of defenses, including by showing consumption of non-Defendant baby
foods and indicators of ASD well before the date of diagnosis—thereby shortening the relevant
exposure period. Accordingly, Defendants’ proposed PFS asks for the form of existing
photos/videos, and whether such photos/videos have been preserved. See Ex. D, Defs’ PFS Nos.
12-14. Plaintiffs have articulated no burden from these requests. And, in state court, plaintiffs’
failure to properly produce photos/videos has led to delays and complications in discovery,
underscoring the need for Plaintiffs to investigate and identify the photos/videos available to them
at this early stage.
Similarly, while Plaintiffs do not object to disclosing whether each Plaintiff or family members
underwent heavy metal or genetic testing, Plaintiffs refuse to answer whether Plaintiffs have access
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to such testing. See Ex. D, Defs.’ PFS Nos. 17(b), 18(b), and 19(b). These questions cause no
burden, are directly relevant to Plaintiffs’ preservation obligations, and should be included.
    5. Plaintiffs’ Proposed Defendant Fact Sheet
Plaintiffs’ Position: The third document is a DIFS, which would be completed by each Defendant
following receipt of the PIFS and PDF from each Plaintiff. Reciprocating defendant fact sheets, in
response to a plaintiff’s fact sheet, are typical in MDLs. Because Defendants insist on Plaintiff-
specific product identification discovery from each Plaintiff, Plaintiffs are entitled to plaintiff-
specific product identification discovery from each Defendant.
The DIFS contains questions narrowly tailored to the specific baby food products identified in a
Plaintiff’s PIFS. See Ex. C. The DIFS would require Defendants to provide information relating
to the years a baby food product identified in a Plaintiff’s PIFS was sold, identifying information
regarding that product, identification of the testing information on that product, and information
on whether the product was manufactured by the defendant or by a co-manufacturer. See Ex. C. In
nearly every MDL, defendant fact sheets go hand in hand with Plaintiff fact sheets to facilitate the
mutual exchange of information, and the information requested in the DIFS is proportional to the
information in the PIFS.
Defendants’ Position: PTO 10 orders the parties to submit a proposed PFS. A Defendant Fact
Sheet (“DFS”) was never discussed; nor was a DFS contemplated by PTO 10. Indeed, Defendants
have already provided extensive discovery to Plaintiffs, including with respect to preservation.
The PFS was therefore meant to elicit basic information from Plaintiffs who have not yet engaged
in this MDL—not create a redundant round of discovery on Defendants.
In addition to being beyond the scope of PTO 10, Plaintiffs’ DFS should be rejected for multiple
reasons. The DFS aims to require Defendants to produce a list of products, identifying where and
when they were sold. See DFS No. 1. The Court already denied this request. 12/12/24 Hearing Tr.
at 46:11-14 (“I’m not going to do that. I’m not going to order [Defendants] to give you a [product
list].”) Also, Plaintiffs’ DFS would require Defendants to do Plaintiffs’ work for them and identify
by bates number each test result associated with a particular product—an analysis that is not
consistent with the goals of a fact sheet, goes beyond what is required by Rule 26, and is already
covered and being briefed in connection with Plaintiffs’ discovery requests. See DFS No. 2.
Similarly, other requests duplicate discovery already served related to identification of co-
manufacturers, test results, and Defendants’ contracts with co-manufacturers, which has been
answered and/or is being teed up to the Court. Defendants already identified the co-manufacturers
of the products included in Appendix A of the Master Complaint (and agreed to respond to an
interrogatory asking for the same information). See DFS No. 3. Defendants also already
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represented to Plaintiffs that they produced the test results for the products in Appendix A they
were able to locate after a reasonably diligent search (and Plaintiffs are insisting Defendants do
this again—twice—in response to Requests for Production). DFS No. 4, 7. Further, Defendants’
contracts are irrelevant to general causation, and such requests can be addressed in the discovery
process. See DFS Nos. 5-6. Plaintiffs’ proposed DFS is therefore unnecessary.


Respectfully submitted,

/s/ Brooke Killian Kim                            /s/ Aimee H. Wagstaff
Brooke Killian Kim (SBN 239298)                   Aimee H. Wagstaff (SBN 278480)
DLA PIPER LLP (US)                                WAGSTAFF LAW FIRM
4365 Executive Drive, Suite 1100                  940 N. Lincoln Street
San Diego, CA 92121                               Denver, CO 80203
Telephone: (619) 699-3439                         Telephone: (303) 376-6360
E-mail: brooke.kim@dlapiper.com                   E-mail: awagstaff@wagstafflawfirm.com

Liaison Counsel for Defendants                    /s/ R. Brent Wisner
                                                  R. Brent Wisner (SBN 276023)
                                                  WISNER BAUM, LLP
                                                  11111 Santa Monica Blvd., Suite 1750
                                                  Los Angeles, CA 90025
                                                  Telephone: (310) 207-3233
                                                  E-mail: rbwisner@wisnerbaum.com

                                                  Co-Lead Counsel for Plaintiffs
